Case 18-42077    Doc 59      Filed 03/14/23 Entered 03/14/23 18:44:13       Main Document
                                          Pg 1 of 2


                       UNITED STATE BANKRUPTCY COURT
                        EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

                                              )
   In re: Veronica Deshay,                    )      Chapter 13
                                              )
                (Debtor)                      )      18-42077
                                              )
   Chapter 13 Trustee                         )
                 (Movant)                     )



         DEBTOR’S RESPONSE TO THE TRUSTEE’S MOTION TO DISMISS


          COMES NOW, Douglas M. Heagler, attorney for Debtors, and in response to the
   Trustee’s Motion to Dismiss states the following:


         1.     Debtor admits the allegations stated in paragraph 1.

         2.     Debtor is working on submitting the missing returns and addressing the
                feasibility issues in her case.


         WHEREFORE, Debtor prays this Court will enter an order denying the Trustee’s
   Motion to Dismiss or set the matter for a hearing.

         Respectfully Submitted,


         /s/ Douglas M. Heagler________
         Douglas M. Heagler, #48952
         901 Boones Lick, Ste. 100
         St. Charles, MO 63301
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Case 18-42077    Doc 59     Filed 03/14/23 Entered 03/14/23 18:44:13            Main Document
                                         Pg 2 of 2



         CERTIFICATE OF SERVICE

         I certify that a copy of the attached pleading was sent by electronic service on or
         before March 14, 2023 , to the following parties:

         Diana Daugherty
         P.O. Box 430908
         St. Louis, MO 63101

         Office of the United States Trustee
         111 S. 10th Street, Ste. 6353
         St. Louis, MO 63143




         /s/ Douglas M. Heagler________
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